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   8                     UNITED STATES DISTRICT COURT
   9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
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  11   HYPER ICE INC, a California                Case No. 8:24-cv-00097-JWH-DFMx
         corporation, and
  12   HYPERICE IP SUBCO LLC, a
         Delaware limited liability company.      JUDGMENT
  13
                   Plaintiff,
  14
             v.
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       DACORM,
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                   Defendants.
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Case 8:24-cv-00097-JWH-DFM   Document 24   Filed 02/18/25   Page 2 of 2 Page ID
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